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7                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8
                                                   )
9    UNITED STATES OF AMERICA                            No. 2:06-cr-00476-MCE
                                                   )
                                                   )
10                  Plaintiff,                           STIPULATION AND ORDER
                                                   )
            vs.
                                                   )
11                                                       Date: April 3, 2007
                                                   )
     RASHAWN JACKSON                                     Time: 8:30 A.M.
                                                   )
12                                                       Judge: Hon. Morrison C. England
                                                   )
                    Defendant.
                                                   )
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14
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
15
     counsel, JASON HITT, Assistant Untied States Attorney, attorney for Plaintiff, and OLAF
16
     HEDBERG, attorney for defendant that the status conference now scheduled for April 3, 2007 at
17
     8:30 AM be vacated and a new date of April 24th at 8:30 A.M. be set for status/change of plea.
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     The government recently provided a plea agreement . The defense needs additional time to
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     review that plea agreement . The parties have been diligently working towards finalization of that
20
     plea agreement.
21
     ///
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1           It is further stipulated and agreed between the parties that the period beginning April 3,

2    2007 and ending April 24th, 2007, should be excluded in computing the time within which the

3    trial of the above criminal prosecution must commence for the purpose of the Speedy Trial Act

4    for defense preparation. The defense has been engaged in ongoing legal research and

5    investigation. All parties stipulate and agree that this is an appropriate exclusion of time within

6    the meaning of Title 18, United States Code, Section 3161(h)(8)(iv) (Local Code T4).

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8
                                                           Respectfully submitted,
9                                                          Dated this 2nd day of April, 2007
                                                           By /s/ Olaf Hedberg
10                                                         Olaf W. Hedberg, Attorney at Law
                                                           Attorney for Rashawn Jackson
11
                                                           Dated this 2nd day of April, 2007
12                                                         MCGREGOR W. SCOTT
                                                           United States Attorney
13                                                         /s/ Olaf Hedberg for Jason Hitt
                                                           Jason Hitt
14                                                         Assistant U.S. Attorney

15
                                                   ORDER
16

17   IT IS SO ORDERED.

18    Dated: April 4, 2007

19                                                 ________________________________
                                                   MORRISON C. ENGLAND, JR.
20                                                 UNITED STATES DISTRICT JUDGE

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